Case 2:05-Cv-02188-.]PI\/|-tmp Document 43 Filed 08/03/05 Page 1 of 3 P ge|D 54

FILED BY __, D.C.

UNITED sTATEs DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 05 AUG -3 AH 8= 52

 

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UNITED STATES OF AMERICA, w 0? M HM
Plaintiff,
v. ` Case No.: 05-2188 Mc/P
JURY DEMANDED

BRYAN CONSTRUCTION COMPANY, INC.,
PATTON & TAYLOR CONSTRUCTION CO.,
TAYLOR GARDNER ARCHITECTS, INC.,
LOONEY-RICKS-KISS ARCHITECTS, INC.,
RICHA_RD A. BARRON, THE REAVES F]RM,
INC., SMITH ENGINEERING FIRM, INC.,
DAVID W. MILEM, BELZ/SOUTH BLUFFS,
INC., HT DEVCO, INC., and STEVE BRYAN,

Defendants.

 

OR_DER ALLOWING SUBSTITUTION OF COUNSEL

 

For good cause shown, Mr. William Jeter, Suite 300, 35 Union Avenue, Memphis, TN
38103, (901) 544-1556 is hereby substituted as counsel for Defendant Taylor Ga_rdner Architeets,

lnc. in lieu of Mr. John McQuiSton II of the firm of Evans & Petree, P.C.

@\W‘ @M/QM-

. l`bl) STATES DIST J'@GE or
[TED STATES MAGI CRATE JUDGE

 

 

  

 

 

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